      Case 3:20-cv-02154-H-BGS Document 3 Filed 11/09/20 PageID.71 Page 1 of 4



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                           UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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     GIOTOM TESFAMICHAEL also known                     Case No.: 20-cv-02154-H-BGS
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     as Gebrekristos Yemanebrhan Kidane,
12                                    Petitioner,       SCHEDULING ORDER
13   v.
14   CHRISTOPHER LAROSE, in his official
15   capacity as Senior Warden, Otay Mesa
     Correctional Facility; TONY H. PHAM,
16   in his official capacity as Newark Field
17   Office Director for U.S. Immigration and
     Customs Enforcement; KENNETH
18   CUCCINELLI, in his official capacity as
19   acting Deputy Director and Senior Official
     Performing the Duties of the Director of
20   U.S. Immigration and Customs
21   Enforcement; CHAD F. WOLF, in his
     official capacity as Acting Secretary of the
22   United States Department of Homeland
23   Security; WILLIAM P. BARR, in his
     official capacity as Attorney General of
24   the United States,
25                                 Respondents.
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27         On November 3, 2020, Petitioner Giotom Tesfamichael, a 37 year-old native of
28   Eritrea with legal status in Denmark and a detainee at the Otay Mesa Detention Center

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                                                                               20-cv-02154-H-BGS
      Case 3:20-cv-02154-H-BGS Document 3 Filed 11/09/20 PageID.72 Page 2 of 4



 1   (“OMDC”) in the custody of the U.S. Department of Homeland Security, Bureau of
 2   Immigration and Customs Enforcement, filed a petition for writ of habeas corpus pursuant
 3   to 28 U.S.C. § 2241. (Doc. No. 1; see Doc. No. 1-5, Tesfamichael Decl. ¶ 1.) In the
 4   petition, Petitioner seeks his immediate release from custody. (Doc. No. 1 at 27.)
 5         In his § 2241 habeas petition, Petitioner contends that his detention for more than
 6   one year in Respondents’ custody is unreasonable and violates the Due Process Clause of
 7   the Fifth Amendment of the United States Constitution. (Id. ¶¶ 4, 8, 66.) Petitioner further
 8   contends that his continued detention at OMDC under the current circumstances is
 9   particularly unreasonable due to the risk of exposure to COVID-19 while detained. (Id. ¶¶
10   7, 67-68.)
11         Petitioner explains that a removal order was served on him on November 21, 2019,
12   and he has never contested that removal order. (Id. ¶ 29.) Petitioner states that he has
13   remained ready, willing and able to cooperate with removal. (Id.) Petitioner explains that
14   despite this, he has been detained at OMDC since October 2019, and he has been denied
15   parole on the grounds that he is a flight risk. (Id. ¶¶ 30, 34.) Petitioner contends that his
16   prolonged detention based only a summary conclusion that he is a flight risk and/or
17   departure is imminent and while his departure is continually delayed is constitutionally
18   unreasonable and violates the Due Process Clause. (Id. ¶ 71, 73.)
19         Petitioner also argues that his continued detention during the current COVID-19
20   pandemic puts him at imminent risk of severe physical harm due to the fact that he has
21   been diagnosed and treated for leukopenia. (Id. ¶¶ 33, 37.) Petitioner contends that his
22   continued detention under these circumstances violates his substantive due process rights
23   under the Fifth and Fourteenth Amendments. (Id. ¶¶ 74-75.)
24         The Court takes judicial notice of a declaration by Kelley Beckhelm, Assistant
25   Officer in Charge, Immigration and Customs Enforcement, Enforcement and Removal
26   Operations, Otay Mesa Detention Center that was filed on April 15, 2020 in Lopez-
27   Marroquin v. Barr, No. 20-cv-00682-LAB-MDD, Docket Entry No. 7-1 (S.D. Cal. Apr.
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                                                                                  20-cv-02154-H-BGS
         Case 3:20-cv-02154-H-BGS Document 3 Filed 11/09/20 PageID.73 Page 3 of 4



 1   15, 2020). 1 See Fed. R. Evid. 201; Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d
 2   741, 746 (9th Cir. 2006) (“[Courts] may take judicial notice of court filings and other
 3   matters of public record.”).          The Beckhelm declaration details the measures that
 4   Respondent has taken in response to the COVID-19 pandemic to prevent and slow the
 5   spread of the virus. See also Arizmendi de Paz v. Wolf, No. 20-CV-955-WQH-BGS, 2020
 6   WL 3469372, at *4-6 (S.D. Cal. June 25, 2020) (detailing the current conditions at
 7   OMDC).
 8           Overall, OMDC, which “has a population within approved capacity and is not
 9   overcrowded[,] . . . has increased sanitation frequency and provides sanitation supplies,”
10   including “disinfectant spray, hand sanitizer, and soap in every housing unit at the jail;”
11   “disinfectants to staff and cleaning crews;” and “hand sanitizer to detainees and staff.”
12   Exhibit A, Beckhelm Decl. ¶¶ 16-17. Staff and detainees are encouraged to use the
13   materials provided “often and liberally.” Id. ¶ 17. Further, housing units are cleaned and
14   disinfected between shifts. Id. OMDC “has [also] limited professional visits to noncontact
15   visits and suspended in person social visitation and facility tours.” Id. ¶ 18. Staff and
16   vendors are screened upon entering the facility, “including [by taking] body temperatures.”
17   Id. ¶ 19. ICE Health Services Corps (“IHSC”) medical staff provides facility employees
18   and detainees at OMDC “education on COVID-19,” including “the importance of hand
19   washing and hand hygiene, covering coughs with the elbow instead of with hands, and
20   requesting to seek medical care if they feel ill.” Id. ¶ 21.
21           Detainees at OMDC are screened upon intake by an IHSC medical provider. Id. ¶
22   10. As part of that screening, “detainees are assessed for fever and respiratory illness, are
23   asked to confirm if they had close contact with a person with laboratory-confirmed
24   COVID-19 in the past 14 days, and whether they have traveled from area(s) with sustained
25   community transmission in the past two weeks.” Id. ¶ 11. Staff then determine whether
26   to monitor or isolate the detainee, and “detainees who present symptoms compatible with
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             The Court attaches the Beckhelm Declaration as Exhibit A to this order.

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                                                                                       20-cv-02154-H-BGS
      Case 3:20-cv-02154-H-BGS Document 3 Filed 11/09/20 PageID.74 Page 4 of 4



 1   COVID-19 [are] placed in isolation, where they will be tested.” Id. ¶ 12. Individuals who
 2   test positive “remain isolated and [are] treated,” and “[i]n case of any clinical deterioration,
 3   . . . referred to a local hospital.” Id. In instances where a detainee is known to have been
 4   exposed to an individual with a confirmed case of COVID-19, OMDC follows a procedure
 5   known as “cohorting”:
 6          Cohorting is an infection-prevention strategy which involves housing
            detainees together who were exposed to a person with an infectious organism
 7
            but are asymptomatic. This practice lasts for the duration of the incubation
 8          period of 14 days, because individuals with these and other communicable
            diseases can be contagious before they develop symptoms and can serve as
 9
            undetected source patients. Those that show onset of fever and/or respiratory
10          illness are referred to a medical provider for evaluation. Cohorting is
            discontinued when the 14-day incubation period completes with no new cases.
11
            Per ICE policy, detainees diagnosed with any communicable disease who
12          require isolation are place[d] in an appropriate setting in accordance with
            CDC or state and local health department guidelines.
13
14   Id. at ¶ 13.
15          As such, the Court issues the following scheduling order.            The Court orders
16   Respondents to file a response to Petitioner’s § 2241 habeas petition on or before Monday,
17   December 7, 2020. After Respondents submit their opposition, the Court will determine
18   whether the Court will request a reply from Petitioner or schedule a hearing. In the interim,
19   the Court orders counsel for the parties to confer by telephone to discuss any mitigation
20   measures or other resolution, if appropriate. Further, if the conditions at Otay Mesa
21   Detention Center change, Petitioners may file supplemental briefing informing the Court
22   of those changes.
23          IT IS SO ORDERED.
24   DATED: November 9, 2020
25                                                  MARILYN L. HUFF, District Judge
26                                                  UNITED STATES DISTRICT COURT
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